oOo ent nD FP WY NY KF

NO bw NHN HO NY NH HY VY YN KR BRB Re Be eRe Se Se Se Se
on NN ON HR WD NYO KF OD DO CO IW DB NA BP W bh —& CC

Case 4:19-cr-01543-RCC-LAB Document 17 Filed 07/09/19 Page 1 of 9

oY
Sa eS

 

     
  
 
    

 

 

L
MICHAEL BAILEY ZF Coen
United States Attorney |
District of Arizona
RYAN J. ELLERSICK JUL 9 2019

Assistant United States Attorney
United States Courthouse _

405 W. Congress Street, Suite 4800
Tucson, Arizona 85701

Telephone: 520-620-7300 |
Email: ryan.ellersick3 @usdoj.gov
Attorneys for Plaintiff

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA
- (LAB
United States of America, CR-14- 15413-TUC- RCC ( ?
Mag No: 19-04411M
Plaintiff,
PLEA AGREEMENT
(Fast Track 5K3.1)

CLERK U S DISTRICT COURT

NA
DISTRICT OF ARIZO’ DEPUTY

 

VS.

Silvio Bertilio Cruz- Velasquez,
aka Silvio Cruz-Velasquez,

Defendant.

 

 

The United States of America and the defendant hereby agree to resolve this matter

on the following terms and conditions:
PLEA

The defendant will plead guilty to an Indictment charging a violation of Title 8,
United States Code (U.S.C.), Section 1326(a), with a possible sentencing enhancement
under 1326(b)(1) or 1326(b)(2), Reentry of Removed Alien.
I. MAXIMUM PENALTIES

A. The maximum possible penalty for a violation of 8 U.S.C. § 1326(a) is up to
twenty (20) years in prison, a fine of up to $250,000, and a term of supervised release of
up to three (3) years.

B. According to the United States Sentencing Guidelines (U.S.S.G.) issued
pursuant to the Sentencing Reform Act of 1984, the Court shall:

. 1. Order the defendant to pay a fine pursuant to 18 U.S.C. §§ 3572 and

3553, unless the Court finds that a fine is not appropriate; and

 

 
oO Oo nN DN A HP WW YN

NO bw DB WH NH PD BP KH RR Rm mo eo ee ee
oOo “sSNA PSP WHS NYY OlUlUlUlUCOUClUCUCOOU NST OONCUCULlCURLULWwL ON es Sl

 

Case 4:19-cr-01543-RCC-LAB Document 17 Filed 07/09/19 Page 2 of 9

4
Nos Lt

2. Order the defendant to serve a term of supervised release when
required by statute and may impose a term of supervised release in all other cases, taking
into consideration U.S.S.G. § 5D1.1.

C. Pursuant to 18 U.S.C. § 3013(a)(2)(A), the Court is required to order the
defendant to pay a $100 special assessment.
I. AGREEMENTS REGARDING SENTENCING

A. Guidelines Calculations. The parties understand that the Guidelines are only
advisory and just one of the factors the Court will consider under 18 U.S.C. §3553(a) in
pnposing a sentence.

B. Sentencing Range. Pursuant to Fed. R. Crim. P., Rule 11(c)(1)(C), the
government and the defendant stipulate and agree that the following are the maximum
applicable guideline ranges for this offense. The defendant understands that he will be

sentenced in accordance with the applicable ranges below as determined by the Court.

8 to 14 months of imprisonment if defendant's Criminal History Category is I;

10 tol6 months of imprisonment if defendant's Criminal History Category is II;

12 to 18 months of imprisonment if defendant's Criminal History Category is III;

18 to 24 months of imprisonment if defendant's Criminal History Category is IV;

24 to 30 months of imprisonment if defendant's Criminal History Category is V;

27 to 33 months of imprisonment if defendant's Criminal History Category is VI.

These ranges include a two-level reduction pursuant to U.S.S.G § 5K3.1 (“fast-
track”).

If the government or probation department discovers a conviction other than those
disclosed to the defense, this may make higher sentencing ranges appropriate, and the

government shall have the right to withdraw from this agreement.

C. Departures or Reductions. If the defendant moves for any adjustments in
Chapters Two, Three, or Four of the Sentencing Guidelines or any “departures” from the
Sentencing Guidelines, the government may withdraw from this agreement. If the

defendant argues for a variance under 18 U.S.C. §3553(a) in support of a sentence request

 
Oo oOo SID nH SP WD LPO

NO Nw NO NO NH HN HN KR HNO Rw rw; mm me
ao Nt DN OH FP WD NYO FEF ODO CO CO IT DB HH BPR WO HO SFB |]

 

Case 4:19-cr-01543-RCC-LAB Document 17 Filed 07/09/19 Page 3 of 9

wo s wt

below the stipulated ranges in this agreement, the government may oppose the requested
variance. The government, however, will not withdraw from the agreement if the
defendant argues for, and the Court grants, a variance below the stipulated range in this
agreement.

D. Supervised Release / Probation. This plea agreement is conditioned on the
defendant not being on federal supervised release or federal probation at the time of the
offense. If the defendant is found to have been on supervised release / probation, the
defendant's supervised release / probation violation matter will be addressed in separate
proceedings/pleadings.

E. Criminal History Points/Prior Convictions. If the defendant has 18 or more
criminal history points, or if the government or federal probation discovers a conviction
other than those disclosed to the defense prior to sentencing, the government shall have the
right to withdraw from this agreement.

F, Plea Addendum. This written plea agreement, and any writteri addenda filed
as attachments to this plea agreement, contain all the terms and conditions of the plea. Any
additional agreements, if any such agreements exist, shall be recorded in a separate
document and may be filed with the Court under seal. Accordingly, additional agreements,
if any, may not be in the public record,

Ill, COURT APPROVAL REQUIRED

If the Court, after reviewing this plea agreement, concludes that any provision is
inappropriate, it may reject the plea agreement under Rule 11(c)(5), Fed. R. Crim. P.,
giving the defendant, in accordance with Rule 11(d)(2)(A), Fed. R. Crim. P., an opportunity
to withdraw the defendant's guilty plea.

IV. WAIVER OF DEFENSES AND APPEAL RIGHTS

Provided the defendant receives a sentence not to exceed 33 months’ imprisonment,
the defendant waives any and all motions, defenses, probable cause determinations, and
objections that the defendant could assert to the information or indictment, or to the petition

to revoke, or to the Court's entry of judgment against the defendant and imposition of

-3-

 
Oo fo YN DWN A BP WH WO

oS NO WH NY WN VP HO DO NO we Rm eR; Ry ey ee ee
ont NN SF WHY NY KF& CO OBO OO HTD DN BR WW PH K& CO

Case 4:19-cr-01543-RCC-LAB Document17 Filed 07/09/19 Page 4 of 9

 

Ne 7

sentence upon the defendant. The defendant further waives: (1) any right to appeal the
Court's entry of judgment against defendant; (2) any right to appeal the imposition of
sentence upon defendant under 18 U.S.C. § 3742 (sentence appeals); (3) any right to
collaterally attack defendant's conviction and sentence under 28 U.S.C. § 2255, or any other
collateral attack; and (4) any right to file a motion for modification of sentence, including
under 18 U.S.C. § 3582(c). The defendant acknowledges that this waiver shall result in the
dismissal of any appeal or collateral attack the defendant might file challenging his/her
conviction or sentence in this case. If the defendant files a notice of appeal or a habeas
petition, notwithstanding this agreement, defendant agrees that this case shall, upon motion
of the government, be remanded to the district court to determine whether defendant is in
breach of this agreement and, if so, to permit the government to withdraw from the plea
agreement. This waiver shall not be construed to bar a claim of ineffective assistance of
counsel or an otherwise-preserved claim of “prosecutorial misconduct” (as that term is
defined by Section IL.B of Ariz, Ethics Op. 15-01 (2015)).
Vv. IMMIGRATION CONSEQUENCES OF PLEA

The defendant recognizes that pleading guilty may have consequences with respect
to his/her immigration status if the defendant is a recently naturalized United States citizen
or is not a citizen of the United States. Under federal law, a broad range of crimes are
removable offenses, including the offense(s) to which defendant is pleading guilty.
Although there may be exceptions, the defendant understands that the defendant’s guilty
plea and conviction for this offense make it practically inevitable and a virtual certainty
that the defendant will be removed or deported from the United States. The defendant
agrees that he/she has discussed this eventuality with his/her attorney. The defendant
nevertheless affirms that he/she wants to plead guilty regardless of any immigration
consequences that this plea entails, even if the consequence is the defendant’s automatic

removal from the United States.

///

 
o oN DD WH FP WD PH

oOo NYO WN NY NY NY YN Kl DN ww em pe
oN ND HA FP WO NY KF DO OHH WN FP WO WO KH OC

 

Case 4:19-cr-01543-RCC-LAB Document17 Filed 07/09/19 Page 5 of 9

\

x 2 . y
we See

VI. PERJURY AND OTHER OFFENSES

Nothing in this agreement shall be construed to protect the defendant in any way
from prosecution for perjury, false declaration or false statement, obstruction of justice, or
any other offense committed by the defendant after the date of this agreement. Any
information, statements, documents, or evidence the defendant provides to the. United
States pursuant to this agreement, or to the Court, may be used against the defendant in all
such prosecutions.

VI. REINSTITUTION OF PROSECUTION

If the defendant's guilty plea is rejected, withdrawn, vacated, or reversed by any
court in a later proceeding, the government will be free to prosecute the defendant for all
charges and/or allegations of supervised release / probation violations as to which it has
knowledge, and any charges and/or allegations of supervised release / probation violations
that have been dismissed or not alleged under the terms of this plea agreement. In such
event, the defendant waives any objections, motions, or defenses based upon the Speedy
Trial Act or the Sixth Amendment to the Constitution as to the delay occasioned by the
later proceedings. Defendant agrees that the fast-track departures set forth under
"Agreements Regarding Sentence" will not be offered if prosecution is re-instituted.

VII. DISCLOSURE OF INFORMATION

A. The United States retains the unrestricted right to provide information and
make any and all statements it deems appropriate to the Probation Office and to the Court
in connection with the case.

B. The defendant shall cooperate fully with the U.S. Probation Office. Such
cooperation shall include providing complete and truthful responses to questions posed by
the Probation Office including, but not limited to, questions relating to:

1, Criminal convictions, history of drug abuse and mental illness; and
2. Financial information, including present financial assets or liabilities
that relate to the ability of the defendant to pay a fine.
///

 
_—

Bo NY HO NY WV NY NN WN NO HS KF | KF HB Se Se Se eS ee
oOo “DN AN HR WO PY KH OD ODO CO HI HR WA BP WO NP KY OC

Oo CN DH Nn fF WH WY

 

Case 4:19-cr-01543-RCC-LAB Document 17 Filed 07/09/19 Page 6 of 9

\ Y

IX. EFFECT ON OTHER PROCEEDINGS

This agreement does not preclude the United States from instituting any civil or

administrative proceedings as may be appropriate now or in the future.
DEFENDANT'S APPROVAL AND ACCEPTANCE

I have read the entire plea agreement with the assistance of counsel and understand
each of its provisions.

I have discussed the case and my constitutional and other rights with my attorney.
I understand that by entering my plea of guilty I shall waive my rights: to plead not guilty;
to trial by jury; to confront, cross-examine, and compel the attendance of witnesses; to
present evidence in my defense; to remain silent and refuse to be a witness against myself
by asserting my privilege against self-incrimination; and to be presumed innocent until
proven guilty; and to appeal or otherwise challenge my conviction and sentence.

I agree to enter my guilty plea as indicated above on the terms and conditions set
forth in this agreement.

I have been advised by my attorney of the nature of the charges to which I am
entering my guilty plea. I have further been advised by my attorney of the nature and range
of the possible sentence and that my ultimate sentence shall be determined after
consideration of the advisory Sentencing Guidelines. I understand that the Sentencing
Guidelines are only advisory and that without this agreement the Court would be free to
exercise its discretion to impose any reasonable sentence up to the maximum set by statute
for the crimes of conviction. .

My guilty plea is not the result of force, threats, assurances, or promises other than

the promises contained in this agreement. I agree to the provisions of this agreement as a

voluntary act on my part and I agree to be bound according to its provisions.

I fully understand that, ifI am granted probation or placed on supervised release by
the Court, the terms and conditions of such probation/supervised release are subject to
modification at any time. I further understand that, if I violate any of the conditions of my

probation/supervised release, my probation/supervised release may be revoked and upon

 
SoS Oo ND NH FP WD YO KF

Ny NY NY WY YB NY NO KN DR RR Re ee ee ee ue OUR
on KH HH FF W NY KH DOD CO CBC NID NH BP WO BO KF OC

 

Case 4:19-cr-01543-RCC-LAB Document17 Filed 07/09/19 Page 7 of 9

, . >

Net Ne

such revocation, notwithstanding any other provision of this agreement, I may be required
to serve a term of imprisonment or my sentence may otherwise be altered.

I agree that this written plea agreement and addendum contain all the terms and
conditions of my plea. I further agree that promises, including any predictions as to the
Sentencing Guideline range or to any Sentencing Guideline factors that will apply, made
by anyone (including my attorney) that are not contained within this written plea agreement
are null and void and have no force and effect.

I am satisfied that my defense attorney has represented me in a competent manner.

Tam fully capable of understanding the terms and conditions of this plea agreement.

I am not now using or under the influence of any drug, medication, liquor, or other

. intoxicant or depressant that would impair my ability to fully understand the terms and

conditions of this plea agreement.
ELEMENTS
Reentry of Removed Alien

' On or about May 25, 2019, in the District of Arizona:

1. The defendant was an alien;

2. The defendant had been previously denied admission, excluded, deported, or
removed from the United States;

3. The defendant knowingly and voluntarily reentered or was present after a
voluntary entry and found in the United States in the District of Arizona; and

4, The defendant did not obtain the express consent of the Attorney General or
the Secretary of Homeland Security to reapply for admission to the United States prior to
returning to the United States.

FACTUAL BASIS
I further admit the following facts are true and if this matter were to proceed to trial

the United States could prove the following facts beyond a reasonable doubt:

HT]

 
So Cfo NI DO A BP WD PO Be

NY NY YY NY NY DN HN DH RN Re Ree ee ea ea ea
co ms“ ON Nn Wo Bo = © \O oOo ~l ON Un mm. WwW Oe So

Case 4:19-cr-01543-RCC-LAB Document17 Filed 07/09/19 Page 8 of 9

\
UL

I am not a citizen or national of the United States. I was removed from the
United States through Mesa, Arizona, on June 13, 2018. I was voluntarily
present and found in the United States at or near Three Points, Arizona, on
May 25, 2019. I was not under constant, continuous observation from the
‘time I crossed the border until the time I was found on May 25, 2019. I did
not obtain the express consent of the United States government to reapply for
admission to the United States prior to returning to the United States.

Ihave read this agreement or it has been read to me in Spanish, and I have carefully

reviewed every part of it with my attorney. I understand it, and I voluntarily agree to it.

 

[22/2015 Silvia Crue Velasque t
Date Silvio Bertilio Cruz-Velasquez
Defendant

DEFENSE ATTORNEY'S APPROVAL

I have discussed this case and the plea agreement with my client in detail and have
advised the defendant of all matters within the scope of Fed. R. Crim. P. 11, the
constitutional and other rights of an accused, the factual basis for and the nature of the
offense to which the guilty plea will be entered, possible defenses, the consequences of the
guilty plea (including the maximum statutory sentence possible), and that the defendant is
waiving the right to appeal or otherwise challenge the conviction and sentence. I have
discussed the concept of the advisory Sentencing Guidelines with the defendant. No
assutances, promises, or representations that are not contained in this written agreement
have been given to me or to the defendant by the United States or any of its representatives.
I have concluded that the entry of the plea as indicated above on the terms and conditions
set forth in this agreement are in the best interests of my client. I agree to make a bona fide

effort to ensure that the guilty plea is entered in accordance with all the requirements of

Fed. R. Crim. P. 11.

/T/

 

 
0 Oo SD HW BR WW BH Ee

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

Case 4:19-cr- 01532-RCC- LAB Document 17 Filed o7fo9/19 Page 9 of 9

4,
~ a“

I translated or nef to be translated this ee from English into Spanish to
the defendant on the G = day of qT VL]

alalis oD.

Date Raul A. Miranda
Attorney for Defendant

 

UNITED STATES' APPROVAL
I have reviewed this matter and the plea agreement. I agree on behalf of the United

States that the terms and conditions set forth are appropriate and are in the best interests of

 

justice.
MICHAEL BAILEY
United States Attorney
District of Arizona
B +i(s /
Date RYAN J. ELLERSIGK—~

Assistant United States Attorney

 

 
